        Case 20-20520-GLT Doc 14-1 Filed 05/13/20 Entered 05/13/20 08:30:17                                              Desc
                        Discharge Ch 7: Notice Recipients Page 1 of 1
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District/Off: 0315−2                        User: admin                          Date Created: 05/13/2020
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15199380 Barclays Bank Delaware             Attn: Bankruptcy         Po Box 8801         Wilmington, DE 19899
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15199395 Northstar Location Services           Attn: Financial Services        Dept. 4285 Genesee Street        Cheektowaga, NY
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15199396 SYNCB/Wal−Mart               PO Box 965024          Orlando, FL 32896−5024
15199800 Synchrony Bank            c/o of PRA Receivables Management, LLC              PO Box 41021         Norfolk, VA
            23541
15199398 Synchrony Bank/Walmart              Attn: Bankruptcy         Po Box 965060         Orlando, FL 32896
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15199400 Transworld Sys Inc/51           Attn: Bankruptcy          Po Box 15618         Wilmington, DE 15618
15199399 Transworld Sys Inc/51           Pob 15273         Wilmington, DE 19850
15199402 Wells Fargo Dealer Services            Attn: Bankruptcy         Po Box 19657        Irvine, CA 92623
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